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                              United States District Court
                              Eastern District of Michigan
                                   Southern Division

United States of America,
                                                Case No. 2:19-cr-20024
              Plaintiff,
                                                Honorable Gershwin A. Drain
v.

Naveen Prathipati,

              Defendant.


                           First Forfeiture Bill of Particulars



      The United States, by and through its counsel, submits this First Forfeiture

Bill of Particulars, pursuant to Rule7(f) of the Federal Rules of Criminal Procedure

to supplement and clarify the forfeiture allegations contained in the Indictment and

to provide notice of specific property the government intends to forfeit upon

conviction.

      The allegations set forth in the Indictment are re-alleged and incorporated

herein by this reference for the purpose of providing notice of the forfeiture

allegations contained in the Indictment, pursuant to Federal Rule of Criminal

Procedure 32.2(a) and 18 U.S.C. § 982(a)(6), 18 U.S.C. § 981(a)(1)(C), and 28

U.S.C. § 2461(c). Upon being convicted of violating 18 U.S.C. § 371, as charged
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in Count One of the Indictment, Defendant Naveen Prathipati shall forfeit to the

United States any property which constitutes, or is derived from, proceeds obtained

directly or indirectly as a result of such violations, pursuant to 18 U.S.C.

§ 982(a)(6) and/or 18 U.S.C. § 981(a)(1)(C), together with 28, U.S.C. § 2461,

including a forfeiture money judgment in the amount of $7,500.00 against

Defendant in favor of the United States, representing the total amount of proceeds

obtained as a result of such violations.

      This Forfeiture Bill of Particulars is also filed to comply with the provisions

of 18 U.S.C. § 983(a)(3), and the government reserves its right to file a civil

forfeiture complaint regarding the identified property, if necessary, at the

conclusion of this criminal action.

      This notice does not limit the government from seeking the forfeiture of

additional specific property, including substitute assets.

                                               Respectfully submitted,

                                               Matthew Schneider
                                               United States Attorney

                                               S/Michael El-Zein
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Dated: May 7, 2019


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                             Certification of Service

      I hereby certify that on May 7, 2019, the foregoing document filed with the

Clerk of the Court using the ECF system, which will electronically serve all ECF

participants.


                                            S/Michael El-Zein
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